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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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UNITED STATES OF AMERICA
Docket No. 21-CR-00222 (TFH)
— against —
JULIAN ELIE KHATER,
Defendant.
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DEFENDANT JULIAN KHATER’S
SENTENCING MEMORANDUM

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SENTENCING MEMORANDUM

i. Introduction

The defense respectfully submits this memorandum in anticipation of defendant Julian
Khater’s upcoming sentencing, presently scheduled for January 27, 2023. By way of background,
on September 1, 2022, Mr. Khater pled guilty, pursuant to a plea agreement, to Counts Two and
Three of the Indictment, each charging him with assaulting an officer using pepper spray during the
January 6" U.S. Capitol riot, in violation of 18 U.S.C. §§ 111(a)(1) and (b). A copy of the plea
agreement is annexed hereto as Exhibit A. As set forth therein, and as confirmed in the Presentence
Investigation Report (*PSR”), Mr. Khater’s Guidelines range is 78 to 97 months. However, for
reasons set forth below, the defense respectfully submits that mitigating circumstances surrounding
this unfortunate incident warrant leniency and compassion.

Notably, Mr. Khater has been in custody since his arrest on March 14, 2021, under the most
onerous of pretrial conditions at the Correctional Treatment Facility (“CTF”). Over the course of
the past 680 days (22'4 months) of his detention, Mr. Khater has been subjected to inhumane

conditions, causing him to suffer physically and emotionally. In addition to the psychological scars
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he still carries from being warehoused in solitary confinement for the better part of a year, Mr.
Khater has been denied the ability to seek comfort from his faith and his family. In fact, since his
detention, the CTF has not permitted Mr. Khater to partake in religious services. Nor did the facility
permit Mr. Khater to receive a single family visit until just a week and a-half ago. Thus, he has been
forced to endure his extensive and harsh captivity largely in insolation and without any reprieve.
Yet, even under these trying circumstances, Mr. Khater has proven himself to be the paradigm of
rehabilitation.

indeed, Mr. Khater’s conduct on January 6" was not part of some orchestrated plan to attack
democracy but rather constituted a fleeting and impulsive response to a moment of hysteria fueled
by his preexisting diagnosed anxiety coupled with the potent influence of a mob mentality.
Notwithstanding that circumstance, as a testament to his rehabilitative outlook, he feels genuine
remorse for his conduct. [n fact, from the very moment of his arrest, Mr. Khater honestly admitted
his wrongdoing to the Government, acknowledging to federal agents that he discharged a small
handheld cannister of mace at officers outside the Capitol building and identifying his co-defendant,
George Tanios, as the individual who purchased it. For that matter, Mr. Khater, endeavoring to be
cooperative, also gave consent to the agents to search his vehicle. Moreover, even during his
subsequent bail hearing before this Court on April 27, 2021, Mr. Khater did not take a contrary self-
serving position, instead readily admitting, through counsel, that he deployed the pepper spray. As
counsel described and as depicted on video footage, Mr. Khater did so instinctively in reaction to
an officer deploying a white cannister of pepper spray into the crowd in which he was standing.
Further, as proof of Mr. Khater’s lack of desire to engage in some anti-democratic movement, after

deploying the spray, he not only refrained from entering the Capitol building but left the grounds.
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Despite the foregoing, Mr. Khater recognizes that his conduct, however impulsive and
transitory, was wrong and merits punishment. We simply ask that such punishment reflect the
mitigating circumstances surrounding the offense, consider the aberrational nature of such conduct.
account for Mr. Khater’s exemplary background and character, and recognize that Mr. Khater has
already been sufficiently penalized by means of detention during his extraordinarily harsh pretrial
incarceration.

Based on all of these factors, which are addressed in detail below, the defense respectfully
requests that the Court impose upon Mr. Khater a non-Guidelines sentence of time-served, pursuant
to 18 U.S.C. § 3553. As the Court will be able to discern for itself from the outpouring of letters
submitted on his behalf, which are annexed hereto as Exhibits B through P, Mr. Khater’s offense
does not define him. To the contrary, he is a gentle and kind man who has already been severely
punished and meaningfully chastened in the wake of his conduct. Accordingly, the sentence of time-
served, coupled with supervised release that requires mental health treatment to redress his
underlying anxiety, would be sufficient, but not greater than necessary, to achieve the objectives of
sentencing in this case. Significantly, as detailed below, one of the objectives achieved by such a
disposition would be the avoidance of an unwarranted sentencing disparity between the punishment
imposed in this case and that of other defendants charged for their conduct on January 6".

I. Julian Khater’s Background and Character

The defense asks that Part C of the PSR, entitled, “Offender Characteristics,” be incorporated
herein by reference. In addition, we wish to emphasize certain salient facts about Julian Khater’s
life, so that this Court may have a better understanding of the man who stands before it for

sentencing.
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It only takes a brief look at Julian’s life to see that it has been marked by a profound
commitment to hard work, family, and the betterment of others. By way of background, Julian, now
age 32, was born on February 15, 1989, in New Brunswick, New Jersey, to the marital union of Elie
Khater, a landlord, and Eleanor nee Fox, ahomemaker. Julian, alongside his older brother, Michael,
and two younger brothers, John and Christopher, was reared within a very close-knit family. Indeed,
in 1994, when Julian was only 5 years old, his father moved the family back to his childhood home
of Bekaa, Lebanon in order to raise his children amidst their extended family, comprising no less
than 32 cousins. Characterized as rural and mountainous, the region lacked a steady source of
electricity, a readily available telephone system, and a continuous supply of hot water. Nonetheless,
what Julian’s surroundings did offer to him was a sense of belonging, as he developed a very strong
sense of family and community values. As his mother, Eleanor Fox, explains in her letter annexed
hereto as Exhibit B:

What meant something to Julian, and what has always meant
something to him, is to give back to the community. Lebanon
fostered that in him, being a very tight knit society and very family
and community oriented....

In her letter annexed hereto as Exhibit C, Julian’s cousin, Josephine Khater, shares a similar
view, expressing:

He is an amazing uncle to his nephews and nieces playing hide and
seek and making funny faces to keep them entertained for hours. He
never misses an opportunity to hang out with his family, whether it be
on the average day or on any special trips and holidays since some of
his brothers live out of state, because family is so important to him.
And he comes from a very loving tight knit family that is well

respected in the community.

Because family has always been so important to Julian, as described by his mother, while in
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Lebanon, “[h]is brothers would be off exploring the mountains and he would be playing with his
younger cousins who couldn’t go off by themselves.” Exhibit B.

As Julian himself explained to the Probation Department, growing up in Bekaa, Lebanon was
a “different, interesting and unique” experience. PSR, § 73. Being raised in that rural area, amidst
a close-knit community, shaped Julian’s values and perspective on life, as it instilled in him an
appreciation for the natural environment and a slower pace of life. At the same time, it also provided
him with a strong sense of belonging and support. Describing their shared hamlet, Julian’s
childhood friend. Johnny Hadded, explains in his letter annexed hereto as Exhibit D:

It is a typical Lebanese village, where everyone knows each other
well, and by name. Everyone is there for each other, always lending
a helping hand or listening ear. Julian by all means lived up to that
standard.

Unfortunately, Julian’s world was suddenly ripped away from him in July of 2006, at the start
of the Israel-Hezbollah War. At that time, Julian, only age 17, was impelled to flee Lebanon
overnight with relatives as bombing hailed down upon his surroundings. The experience, both
frightening and chaotic, left Julian and his family with no time to prepare, as they left their home and
possessions behind. To ground these circumstances in their horrific reality, while en route from
Bakaa to Beirut, a bomb struck the road in the path of Julian’s vehicle, casting a cloud of smoke and
debris into the air, which created a temporary impasse. As it did so, Julian, his mother, and his
siblings screamed out in terror, pleading to turn back. But, desperate to escape with his family,
Julian’s father refused. The sheer terror of that event is indelibly etched in Julian’s memory.

Ultimately, the Khater family reached the U.S. embassy in Beirut and secured passage with

American troops aboard the battleship USS Trenton bound for Cyprus. There, Julian and his family

 
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then boarded a military cargo plane which transported them safely out of the region.
Understandably, leaving his home, community and way of life, particularly under such harrowing
circumstances, was a traumatic and difficult ordeal that has had a lasting impact on Julian’s
psychological well-being.

In fact, as set forth in paragraph 81 of PSR, Julian to date “suffers from anxiety,” for which
he takes prescribed medication. Julian’s anxiety affliction is corroborated by his medical records
at the CTF, the relevant pages of which are annexed hereto as Exhibit Q. As well-documented
therein, Julian suffers from an “anxiety disorder” [Exhibit Q. pp.2. 6. 7]. which has caused him.
while in pretrial detention, to experience ‘overwhelming feelings of apprehension and tightness in
his chest” /d. at p.1 1, a“recent panic attack” /d. at p.13, and “ongoing feelings of anxiety” /d. at p.6,
for which his “medication [was] not helping.” /d. at p.2. Moreover, in conjunction with his anxiety,
Julian has felt “very depressed and down.” /d. at p.14.

Notably, Julian’s escape from Lebanon and history of anxiety are confirmed by his father,
Elie Khater, who writes in his letter annexed hereto as Exhibit E:

Julian himself was the victim of war trauma during the horrible
events of July 2006 in Lebanon.
* * * x

[T]he war erupted between Hezbollah and Israel. Due to our
hometown’s geographical position, planes were hitting targets all
around our area. While we were sleeping, bombing and shelling
would wake us up every night. [t was horrible and the children were
terrified. Then, we began to get calls from our family in the US to get
out of Lebanon and come back home. Moreover, it got so bad that
the US State Department put a statement out to all US citizens to
evacuate Lebanon or remain in the country at their own risk.

One week into the July 2006 war, we decided to leave the town with
two other families to Beirut. The trip would take us an hour and a
half from our home to our destination. There were literally no other

 
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vehicles on the road at the time because any moving vehicle in the
area was in danger of being targeted by air bombing. Thirty minutes
into our drive, the planes had hit a target less than half a mile ahead
of us based on our route. The plumes of smoke and debris from the
bombing obstructed our view and destroyed our side of the road. My
wife and kids, including Julian, were screaming “go back, go back!”
because they feared for their lives. However, we communicated with
the other two families, and when the smoke cleared, we came to the
conclusion that going back was just as dangerous as finishing the trip.
So, we crossed over to the opposite side of the road, got around the
rubble, and we continued on our journey. Some minutes later, we
encountered three or four tarped trucks on the side of the road. They
had been hit by the same wave of air bombing and were still
smoldering. Halfway into our trip, we reached a ‘safe area’ with no
bombardment and knew we could finish the journey. We stopped to
talk, and all three families were shaking and traumatized by the
events that had recently occurred.

While in Beirut, we witnessed the nonstop bombardment of West
Beirut, mostly at night, which left a lasting and traumatic effect on
Julian and other family members. The moment we boarded the USS
Trenton marked the first time that day that we had anything to drink
or eat for over twelve hours.

It took the ship another eight hours to embark on its journey to
Cyprus... We then were transported to Fort Dix in New Jersey, a
perilous journey totaling over three days of hell. Nobody got any
sleep, and the children left everything behind, including their friends.
family, lives, and most sentimental belongings.

The reason I mention this in detail is because these events had a deep,
meaningful effect on Julian in particular, and it was so traumatic for
him. These events left a lasting, damaging impact on Julian.

The trauma of the war has affected Julian ever since. Any time Julian
goes through a stressful event or is confronted with a difficult
situation, he suffers from panic attacks. Over the years since the 2006
evacuation, Julian had numerous panic attacks, some passing without
hospitalization. These attacks would vary in duration and intensity.
From 2012 to 2014, Julian was hospitalized due to these anxiety
attacks on numerous occasions. His anxiety was crippling in some
cases, to the extent that he would scream to his mom, “please come
sit next to me, I feel like I can’t breathe and feel like I’m going to

 
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die.” His heart would race, and he would suffer from shortness of
breath. In some of these occasions, we would have to call the
ambulance to take him to the hospital. On two occasions, even after
being discharged from the hospital, Julian would get home and almost
immediately begin demanding to be taken back for additional
treatment due to the persistence of the panic attacks.

Despite having successfully escaped Lebanon under siege in 2006, upon returning to the
United States, Julian continued to face challenges separate and apart from his anxiety. After leaving
behind people and places that had been familiar to him for 12 years, Julian abruptly found himself
having to adapt to anew and very different environment. To that end, upon returning to this country
at 17 years old, Julian entered his senior of high school in New Jersey, where he experienced
significant culture shock. In addition to adjusting to a new educational system, Julian had to learn
to navigate unfamiliar societal norms while shouldering the added stress of applying to college and
planning for his future. And, having just relocated to this country, he did so without the benefit of
friends, causing him to feel alienated and isolated.

Worse still, Julian had great difficulty forging new relationships here, as he has always been
inherently “shy” and “introvert[ed].” as aptly described by his mother, Eleanor Fox. Exhibit B. In
fact, Julian’s quiet and sheepish nature is a central theme running through the letters submitted on
his behalf. See Exhibits B through P. By way of additional example, a family friend, Alissa Latner,
notes that Julian was always “quiet” and “more reserved.” Exhibit F. Likewise, Julian’s older
brother, Michael, recounts that he “was always the quiet, sweet, gentle [and] shy ... child in the
family.” Exhibit G.

Despite his adversities, or perhaps to some degree in an effort to overcome them, Julian

embraced the altruistic values and sense of community instilled in him as a child within his small

Lebanese village. Accordingly, during hts senior year in high school, Julian engaged in charitable

 
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acts, volunteering his time to help others in need. As explained by his father, Elie Khater:

While in high school, Julian volunteered to serve the poor and the
needy. He used to spend most weekends at the soup kitchen in New
Brunswick to help serve a hot meal to those in need. Whenever we
had guests and served food, Julian used to always say, “save the
leftovers so I can take them to the soup kitchen for the needy.” In his
teens, he joined the Maronite Youth Organization (MYO) at our
Catholic Church, where he helped organize events, raise money, and
provide for those in need. He was always available when there was
a need to set up for those events.

Exhibit E,

While donating his time to Church activities. Julian further espoused his faith as he inspired
younger children, through his humility and genuine concern, to follow their religious beliefs and
similarly engage in volunteer work. As his aunt, Leila Khater, writes in her letter annexed hereto
as Exhibit H:

He was also involved in the Church of Saint Sharbel in the YMA
group where he was loved and made lots of friends and a lot of the
younger generation looked up to him as he was so humble, caring and
tender. So [a]l] knew Jutian as the big loving heart and helping hand.

Julian’s faith is very important to him, as confirmed by his cousin, Jennifer Bozovic, who
writes, in her letter annexed hereto as Exhibit I, that “[h]Je frequently attended church and is loved
by the members of our community.” The preceding sentiment is echoed by Julian's mother, Eleanor
Fox, who states:

When we had to move back to the U.S. in 2006, Julian entered a
whole new environment in High School in Franklin, New Jersey. He
didn’t know anyone, and my heart would break as he would sit alone
during lunch. He eventually joined the youth group at the Catholic
Maronite church and was very active in the church community. We
always joked that Julian would become a priest. His faith hasn’t

wavered throughout this ordeal.

Exhibit B.
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True to his mother’s words, even while presently detained, Julian continues to counsel his
younger nephews to maintain their religious values. As described by his younger brother, John
Khater, in his letter annexed hereto as Exhibit J:

My nephews love him and to this day ask where Uncle Julian is. He’s
their Godfather and best friend. Whenever he calls from jail, they run
to the phone and ask when he’s coming home. He always tells them
to pray and go to church. He is a person of great faith and family
values...

Julian’s values are not only the product of his time growing up ina tight-knit community but
also the lessons imparted by his father, Elie Khater. As he explains in his annexed letter:

I take pride in working hard and have raised a good family — a family
of good values and great ethics. We are a family that cares and
respects others. My four boys are all upstanding citizens who work
hard and are productive members of society. I instilled in my kids the
love of God, family, and the love and service of the country.
# * *

I always instilled in my children to help the poor and the needy
among us. Our family is hospitable, caring, generous, very giving,
and welcoming. We housed many people who have immigrated from
Lebanon over the years, fleeing war and a destabilized environment,
until they were able to take care of themselves and lead successful
and productive lives in the US. Julian grew up on these values and
lived them every day.

Exhibit E.

As set forth in paragraph 83 of the PSR, in an effort to lead his own successful and
productive life here, Julian, after securing his Associates degree in business administration from
Raritan Valley Community College in 2009, went on to earn his Bachelor of Science degree in that
same discipline from Fairleigh Dickinson University in 2011. As his mother, Eleanor Fox, recalls,
Julian’s “college days were difficult as he had a 45 minute commute to Fairleigh Dickinson

University, but he never missed a day and graduated with honors.” Exhibit B.

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Notably, Julian’s strong work ethic endured as he transitioned trom school to the workforce.
In fact, since returning to the United States more than 16 years ago, and up until the time of his arrest
in this matter, Julian remained continuously and gainfully employed. As explained by his father:

Since his high school and through college, Julian always maintained
a job. He worked at Peter’s Liquors in New Brunswick, New Jersey
from 2007 until 2012. He then worked as a bar manager at Panico’s
Restaurant in the same town from 2011 until 2016. From 2014 to
2016, he also maintained a job as a financial sales consultant at PNC
Bank in Somerset, New Jersey. From December 2016 to January
2018, he worked as an event ambassador and bar manager at Top
Golf in Edison, New Jersey. From January 2018 to January 2019, he
managed and co-owned a Frutta Bowls health food restaurant in
Chapel Hill, North Carolina. Then, from January 2019 to May 2020,
he started up and managed another Frutta Bowls location in State
College, Pennsylvania, where he had 30 employees. Julian was
always a hard worker as a student, as an employee, and as a business
owner.

Exhibit E.

As reflected in paragraphs 90 and 91 of the PSR, Julian’s business, Frutta Bowls, closed due
to the pandemic, prompting Julian to work as a Lyft driver from September 2020 until his arrest in
March 2021. Although Julian’s business was forced to shutter its doors, what remains from that
venture is the respect and admiration Julian garnered while tending to the needs of his family. As
his cousin, Joanna Khater, recounts:

Julian is the kind of person always putting his family first. He is very
involved in all family businesses and takes on many responsibilities
to ensure the happiness of his family and the success of their
investments. When his father became interested in the “Frutta bowls”
chain, Julian was by his side, no questions asked. He even uprooted
himself and moved to the location of the chain to aid his father in
managing the new business. Though he moved away from the family
he continuously would travel to see us all, especially his niece and
nephews. Julian continues to be a role model to our whole family,
always hard working, kind and devoted to the people and things he

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loves. He is an honorable man, with good morals and a pure heart.
He always puts others’ needs before his own regardless of the cost.

Exhibit Kk.
Consistent with the above account, Julian’s cousin, Josephine Khater, states:
In his work life he was the utmost professional employee and
coworker, He was an exceptionally good team player and loved by
many of the customers he served whether it was at PNC Bank, Top
Golf, or even Panico’s Restaurant. In short, he operates with integrity
and is well liked by everyone. Julian is a person of high moral
character, he never hesitates if someone needs a helping hand. and
always one to ask if you need something before you even get a chance
toask. Asa whole Julian ts a reliable. trustworthy and loving person.
Exhibit C.
Ill. The Instant Offense
Given Julian’s gentle, kind, and altruistic nature, it may be hard to reconcile how he possibly
could have engaged in the instant offense. Nonetheless, a more than cursory review of the
surrounding circumstances, while by no means excusing his conduct, does shed some light on it.
Indeed, Julian's involvement, unlike so many others caught up in the events of January 6". was not
motivated by a desire to undermine democracy. To the contrary, Julian loves this country, its
principles, and members of law enforcement who uphold and defend them. In fact, as noted by his
mother, Eleanor, “Julian wanted to join the Sherrif’s department” and [b]ut for a DUI, which he
massively regretted, he would have been there instead of at the Capitol on January 6".” Exhibit B.
So the question remains: Why did Julian discharge a small canister of pepper spray at officers
during the Capitol riot? In order to answer that question, it is important to initially recognize why

he was even there in the first place. Within the days preceding January 6, 2021, Julian’s friend and

co-defendant, George Tanios, invited Julian to accompany him to Washington D.C. in order to watch

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the former president speak at the “Stop the Steal” rally, which was scheduled to occur at the White
House on that date. Because Julian did not immediately commit to going, Mr. Tanios contacted him
again on January 5'", once more asking Julian to attend the event with him. Although Julian
ultimately agreed, it cannot be sufficiently underscored that their only intention was to attend a
political rally, and not storm the Capitol building or seek to undermine the election results.

Notably, evidence presented to this Court at a bail hearing, held on April 27" and May 11"
of 2021. corroborates the foregoing. Specifically, with regard to intent, Mr. Tanios called as a
witness his friend, Sean Ruth, who testified that. despite ultimately being unable to do so because
of work, he discussed with Mr. Tanios attending the rally with him and Julian “to just support
Donald Trump,” and “[t]here was no plan of going to the Capitol Building afterwards or anything
like that.” M.68:9-12; 69:1-9!

Likewise, although Mr. Tanios, on his own, purchased two cans of bear spray and two
canisters of mace the day before the rally, William Biddle, the manager of the firearms and accessory
store from which he purchased them, explained that he did so for self-protection “from violent things
that were happening at other Trump rallies.” T.5:22 — 6:2: 11:12-17: 25:17-20. In particular, Mr.
Tanios “let [Mr. Biddle] know that he was going to go down to the rally in D.C., the Trump rally.
and he was concerned about being protected while he was there.” 7:18:21 - 19:1. Further, as
evidence of his intention to comply with the law, Mr. Tanios explicitly asked Mr. Biddle what items
he could bring with him to the District of Columbia legally, In fact, after Mr. Tanios “asked if there

was anything that he could take,” Mr. Biddle told him “aerosols are okay.” T.7:8-9. In short, Mr.

 

‘Citations in the form “M.__” refer to the minutes of the April 27, 2021 bail hearing, and in the
form “T._” to the transcript of the continued May 11, 2021 bail hearing.

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Biddle made clear that Mr. Tanios was “was concerned about his safety.” T.7:17-19. Accordingly,
there was never a coordinated plan by Julian and Mr. Tanios to bring weapons to the District of
Columbia in order to attack the Capitol building. To the contrary, as explained by Mr. Tanios’s
counsel during the bail hearing, the items were legitimately purchased for self-defense: “Ifthe Court
were to just Google ‘Trump rally turns violent,’ there are many rallies that ended up turning violent
against the Trump supporters, and that’s wel! known. So it’s not... some far off or outlandish fear....
It was legitimate.” T.11:18-22.

Against the preceding backdrop, it is also important to note that. as stated in paragraph 77
of the PSR, aside from membership in his Church organization, Julian “is not a member of any other
organizations, groups, associations, or clubs.” The fact is that Julian, while accompanying Mr.
Tanios, truly traveled to Washington D.C. on January 6" with the mindset of being a passive
spectator, and having no expectation of the tragic events that would unfold that day at the Capitol.
Indeed, even when the former president during his speech stated, “we’re going to walk down to the
Capitol,” Julian had no idea that a riot would erupt. Rather. thinking that perhaps another speech
was forthcoming at that location, Julian followed the crowd heading towards the Capitol.

Upon arriving at the grounds of the Capitol, Julian, while walking behind Mr. Tanios as
noted in paragraph 21 of the PSR, encountered something very different than that which he
anticipated. Protestors bellowing into megaphones incited others with rhetoric about a putative
stolen election, as emotions reached a feverish pitch. A climate of mass hysteria fueled by the
dissemination of misinformation about the 2020 election, originating at the highest level, gave rise
to a visceral powder keg waiting to ignite. And that is precisely what occurred.

After separating briefly from Mr. Tanios during the ensuing chags, Julian stood in a crowd

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of people as plumes of chemical irritant permeated the air. Thus, upon reuniting with Mr. Tanios,
Julian, in an agitated state, referenced wanting the bear spray Mr. Tanios was carrying ina backpack.
However, despite having access to such a potent item, Julian retained sufficient clarity of thought
so as to avoid taking it. Instead, he solely possessed a small cannister of pepper spray, which he
received from Mr. Tanios. Although pepper spray, by design, is a non-lethal self-defense tool meant
to avoid permanent harm to another, Julian, to his lasting regret, used it offensively in a moment of
clouded judgment.

Specifically, as law enforcement safeguarding the Capitol doused the crowd in which Julian
was standing with chemicals, the cacophony of collected bodies united in purpose and pulse
powerfully overcame Julian’s reasoning and resolve. Standing amidst a wave of bellicose protestors,
as competing factions engaged one another in a dangerous and chaotic atmosphere, Julian’s
mindfulness momentarily gave way to his anxiety. Whether it was simply the heat of that moment
or the addition of some trauma which still lingered from having fled Lebanon while under
bombardment, something in Julian was triggered. And it was in that instant that Julian instinctively
reacted by deploying his cannister of pepper spray at law enforcement. Although Julian did so over
the course of mere seconds, it was long enough to temporarily incapacitate multiple officers.
Nevertheless, the barricades these officers were defending were reformed within approximately a
half+minute, without any rioters traversing the area during that momentary window. And that is very
fortunate, as it was never Julian’s intent to facilitate a breach of the Capitol building. As proof of
that fact, after Julian deployed the pepper spray, he not only forewent entering the building but left
the area altogether. In other words, Julian’s offense conduct during the events of January 6" were
indeed isolated and not part of some coordinated effort. Still, for his part, Julian harbors tremendous

remorse and regret.

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IV. Julian Khater’s Arrest and Qnerous Pretrial Detention

As evidence of his contrition, on the very day of his arrest, March 14, 2021, Julian (1) signed
a Afiranda watver form agreeing to speak with law enforcement, (2) executed a consent form
authorizing federal agents to search his vehicle, (3) spoke to federal agents for more than two hours,
(4) identified himself and Mr. Tanios in photographs at the riot on January 6", and (5) admitted that
he deployed the pepper spray during that riot. To be clear, Julian has never falsely denied his
involvement in the events of January 6". Even during his bail hearing before this Court, Julian,
through counsel, acknowledged that he used the pepper spray during a moment of being emotionally
overwhelmed. M.23:14-15 (“[T]his is not a premeditated, planned out event. It’s reactionary,
emotional reactionary”).

Because Julian has been detained pretrial, by the time of his sentencing, he will have been
in custody for 680 days (22'4 months). And, notably, he will have served such time under
extraordinarily harsh conditions at the Correctional Treatment Facility. As the Court will recall, in
November of 2021, defense counsel was impelled to seek the Court’s assistance because the CTF
withheld discovery from Julian without any explanation and then falsely advised defense counsel
that he was granted access to such discovery, which falsehood the facility later attributed to some
vague “miscommunication.” See November 11, 2021 letter regarding withheld discovery, ECF Doe.
No. 46. Asa result of such impropriety, Julian needlessly languished in pretrial detention at the CTF
for additional months simply because of inexplicable problems relating to discovery caused by the
D.C. Department of Corrections.

Beyond the fact the Department of Corrections’ claim of “miscommunication” smacked of

incredulity on its face, its systematic ill treatment of Julian evinced that its obstructionist conduct

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with regard to his discovery was deliberate. By way of background, from the moment he was first
detained at the CTF in April of 2021, Julian was tormented by his jailers. The laundry list of abuses
within the D.C. prison system have been widely reported, prompting the Hon. Royce Lamberth to
rebuke such jail conditions as “deplorable” and “beyond belief.” In addition, Judge Lamberth made
public a report from the Marshals Service, dated November 1. 2021, documenting that the officers
at the Central Detention Facility (*CDF”). among other things, (1) withheld water and food from
detainees for punitive reasons, (2) caused large amounts of standing urine and feces to remain within
the toilets of multiple occupied cells, resulting in an overpowering stench. (3) served hot meals in
a cold and congealed condition; and (4) antagonized detainees. United States v. Worrell, docket no.
21-cr-00292 (RCL), document no. 123. Although that same report noted that conditions at the CTF,
where Julian has been jailed, were “largely appropriate,” as Judge Lamberth noted with regard to
such cautious language, “The marshal did not say conditions at the CTF were not egregious.”
clarifying, “He simply said they were not as egregious as at the [CDF].””

The conditions at the CTF, which Julian has been compelled to endure for 224% months, are
indeed egregious. As an initial point, Julian has been confined to a small cell. approximately 7 feet
by I] 1feet in area. Moreover, because mold was discovered in various cells, Julian was forced to

share that diminutive space with another detainee for a period of time. Further adding to its

 

“Judge Lamberth issued that scathing indictment of the D.C. jail in connection with the release
(to home detention) of January 6" defendant Christopher Worrell, who stands accused of assaulting law
enforcement with pepper spray in United States v. Worrell, docket no. 21-cr-00292 (RCL). See CNN
article, dated November 3, 2021; https://www.enn.com/202 |/11/03/ politics/jan-6-rioter-released-unsafe-

jail -conditions/index.html.

*See Washington Post article, dated November 3, 2021; https://www.washingtonpost.com/lacal
Aegal-issues/de-jail-conditions-inspection/2021/11/03/c75d08ea-3c27-1 lec-bfad-828343987 lee story.
html.

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claustrophobic atmosphere is the fact that there ts virtually no space for movement, as one half of
the cell 1s occupied by a metallic bunk bed, while the other half houses a toilet and sink. Worse still.
the only window within the cell is approximately one foot wide and covered in a mesh that prevents
viewing of the outside world. And as if those bleak circumstances were not sufficiently dispiriting
to break one’s resolve, during his first year of detention, Julian was largely subject to solitary
confinement within that cold, dismal setting, locked within his cell for 25 consecutive hours every
other day. In short, based on these circumstances, Julian could not lock up at the open sky or breathe
tresh air for almost an entire year. Although these restrictions have since lessened. Julian has still
only been afforded access to breathe fresh in outdoor space about two dozen times over the course
of the past year.

Unfortunately, what has not ameliorated are the everyday living conditions which Julian has
been made to endure. Being afforded a flattened one-inch mattress upon which to slumber, without
any pillow, Julian has suffered inordinate difficulty sleeping, causing his emotional state to
deteriorate. And to ensure that he has sutfered sleep deprivation, Julian’s jailers have customarily
delivered his break fast at 2:30 am, banging loudly on his cell to disturb any possible respite. Clearly,
such tactics could only be designed to dehumanize Julian. And lest there be any question about that
fact, for the better part of a year, the CTF would not permit Julian the dignity of even grooming,
causing his outward appearance to become as unkempt as his crumbling emotional state.

Unfortunately, Julian’s physical state has not been immune from the prison’s abuse, as the
CTF has provided him with subhuman sustenance. Separate and apart from him only being given
two square slices of processed cheese and broccoli tips as an excuse for dinner. the so-called “meals”
have apparently been doused with toxic chemicals, as they have emitted the smell and taste of
ammonia.

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In addition to undermining Julian’s emotional and physical health, the CTF has trampled
upon his spiritual well-being, as it has continued to cruelly deprive him of religious services. And,
to aggravate matters, Julian has been made to suffer all these indignities while being cut off from his
loved ones. In fact, for inexplicable reasons, Julian has been denied the opportunity to receive visits
from his family members. As a result, for nearly the past two years, while suffering under
extraordinarily harsh conditions of confinement, Julian was not once able to embrace a loved one
for comfort and support.’ Beyond the numerous torments he has endured during his captivity,
Julian’s compelled separation from his family and inability to practice his religion have intlicted a
particularly severe punishment on him, especially considering the paramount importance of both in
his life, as detailed above.

Yet, even under these painful circumstances, Julian has proven himself to be the paradigm
of rehabilitation. With seemingly nothing but endless time before him, as days, weeks and months
have faded into one another, Julian has had ample opportunity to reflect upon his conduct. In so
doing, true to his character, he feels tremendous remorse, In fact, the letters submitted on Julian’s
behalf are replete with references to his contrition. For instance, his father, Elie Khater, recognizes
that he has had “ample time to reflect and be remorseful about the events of January 6".” Exhibit
B. Similarly, his aunt, Leila Khater, his family friend, Kamil Saber, and his cousins, Josephine
Khater and Jennifer Bozovic, have all independently made the same observation, namely that Julian

is “very remorseful” for his conduct in this matter. Exhibits H, L, C, and 1.

 

“Approximately a week and a-half ago, on January 13, 2023, the CTF finally allowed Julian the
opportunity to receive a visitation, from his father and his brother, John, That visitation marks the first
time Julian has been able to physically touch, or even be in the same room as, a loved one in almost two
years,

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As evidence of his remorse, Julian has sought to atone while in custody by being of service
to others. Specifically, as explained by his father, Elie Khater:
Even in jail, Julian found time to serve others. He volunteered to
distribute the food trays, to clean the general areas, to collect the
laundry, and to perform any other task that will provide a service to
his peers.
Exhibit E.
As proof of the foregoing. annexed hereto as Exhibit R is a D.C. Department of Corrections
Work Performance sheet relating to Julian’s service to the CTF. As reflected therein. the quality and
quantity of his work, his initiative, his dependability, his response to supervision, and his overall job
performance have all been deemed “excellent” by the facility. Exhibit R. In fact, as noted in that
document, Julian “[d]oes superior work” and “more work than is expected or required” of him,
performs “[s]uperior work and exceeds expected productivity,” generates “[g]ood ideas to improve
work, does work to improve [his] skills, [and] works with [a] positive attitude,” conducts “work
[that] is very reliable, consistent and thorough, always completes [his] tasks on time,” and “[m]akes
a real effort to please [his] supervisor.” /d.°
The fact of the matter is that Julian, notwithstanding his own adversities, is a compassionate
human being whose emotionally charged conduct on January 6" was an aberration in an otherwise
exemplary life. Moreover, with respect to such conduct, he feels genuine remorse and has already

been severely punished. We respectfully ask that the Court give significant weight to these

considerations in relation to the Guidelines in this case.

 

*Based on his excellent performance, Julian's supervisor recommended that he be promoted to a
more demanding job with added pay. A

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Vv. The Applicable Guidelines

As evidence of his contrition and acceptance of responsibility, on September 1, 2022, Julian
Khater pled guilty pursuant to a plea agreement, a copy of which is annexed hereto as Exhibit A.
As set forth therein, the parties have agreed that the following Guidelines apply to both Counts One

and Two, charging him with assaulting an officer using a dangerous weapon, in violation of 18

U.S.C. $§ 11 1(a)(1) and (b):

Base Offense Level [U.S.S.G. § 2A2.2(a)]: l4
Dangerous Weapon Used [U.S.S.G.§ 2A2.2(b\(2)(B)]: +4
Bodily Injury [U.S.S.G.§ 2A2.2(b}(3)]: +3
Convicted under 18 U.S.C. § 111(b) [U.S.S.G. § 2A2.2(b)(7)]: +2
Official Victim [U.S.S.G. § 3A1,2] +6
Adjusted Offense Level: 29

Additionally, because each count constitutes a separate group of equal seriousness under the
Guidelines, two units are generated resulting in an increase of two levels to the adjusted offense level
under U.S.S.G. § 3D1.4(a). Consequently, a grouping analysis results in a total adjusted offense
level of 31. Furthermore, because Julian Khater has fully accepted responsibility by means of his
timely guilty plea, an additional three-point total reduction is warranted, pursuant to U.S.S.G. §§
3E1.1(a) and (b), resulting in a total adjusted offense level of 28. Given that his Criminal History
Category is I [PSR, § 65], the Guidelines range applicable to Counts One and Two is therefore 78
to 97 months.

Despite the preceding range, we respectfully ask that the Court sentence Julian Khater to a
period of time-served, coupled with supervised release that requires mental health treatment. The
defense respectfully submits that such a non-Guidelines sentence is warranted based on the relevant

sentencing factors contained within 18 U.S.C, § 3553(a).

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VI. The Appropriate Sentence

A. The Applicable Law

The Supreme Court’s holding in United States v. Booker, 543 U.S. 220, 245-46 (2005),
requires sentencing courts to consider, in addition to the Guidelines themselves, the broad directives
set forth in 18 U.S.C § 3553(a).° That section directs courts to “impose a sentence sufficient, but not
greater than necessary, to comply with the purposes set forth in paragraph 2." 18 U.S.C. § 3553 (a).
Paragraph (2) states that such purposes are:

(A) to reflect the seriousness of the offense, to promote respect for the law, and

to provide just punishment for the offense;

(B) to afford adequate deterrence to criminal conduct;

(C) to protect the public from further crimes of the defendant; and

(D) to provide the defendant with the needed educational or vocational training,

medical care, or other correctional treatment in the most effective manner.

Section 3553(a) further directs sentencing courts to consider such diverse factors as: the
history and characteristics of the defendant: the kinds of sentences available; the need to avoid
unwanted sentencing disparities; and the need to provide restitution to any victims of the offense.
18 U.S.C. § 3553(a)(1)-(7).. The Court’s holding in Beoker also permits this Court to consider those
factors listed in U.S.S.G. § 5H1 such as the defendant’s mental and emotional condition,
employment record, and childhood difficulties.

One of the primary infirmities of the Guidelines is their broad failure to incorporate these

factors. Moreover, the Guidelines do not — and indeed cannot — produce sentencing ranges that

account for each of the various factors and purposes a court must consider when imposing sentence.

 

"In Rita v. United States, the Supreme Court stated that “the sentencing court does not enjoy the
benefit of a legal presumption that the Guidelines should apply.” 127 S.Ct. 2456, 2465 (2007) (citing
Booker, 343 ULS., at 259-260).

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In fact, a sentence within the Guidelines can create an “an unwarranted sentencing disparity” by
treating, in the same way, individual defendants who have different characteristics and personal
circumstances which are relevant for sentencing.’ As a result of these inherent limitations, this
Court cannot impose upon Julian Khater a sentence based solely on the Guidelines that adequately
takes into account all factors germane to his sentencing.

The Supreme Court has continued to clarify the relative weight which sentencing courts
should afford the Guidelines, Specifically, in United States v. Gall, 352 U.S. 38 (2007), the Court
rejected a standard of review which would require the strength of the underlying justification for a
departure from the Guidelines to be “proportional” to the degree of the departure and confirmed that
the abuse of discretion standard applies to sentences both within and outside the Guidelines. In
arriving at this decision, the Court also rebuffed any notion that sentences outside the Guidelines
required extraordinary circumstances. Based upon these developments, we submit that the
Guidelines carry no greater weight than the other sentencing factors under 18 U.S.C. § 3553 or
U.S.S.G. § SHI.

The preceding framework provides ample support for the sentence now sought of time-served
and supervised release with a condition of treatment to redress Julian’s anxiety.

B. The Onerous Impact of Pretrial Detention

First, as detailed above, Julian has already been severely punished for his misconduct over

nearly the last 2 years. During that lengthy time, he has been imprisoned under the most onerous

 

” Ilene Nagel, one of the original sentencing Commissioners, acknowledged this problem — which
she dubbed the “overreaching uniformity” of the Guidelines — noting that “the emphasis [in creating the
first set of guidelines] was more on making sentences alike, and less on ensuring the likeness of those
grouped together for similar treatment. Nagel, Structuring Sentencing Discretion: The New Federal
Sentencing Guidelines, 80 J. Crim. L. & Criminology 883, 934 (1990).

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of conditions at the CTF, with limited contact to the outside world, during the midst ofa once-in-a-
lifetime pandemic, while denied access to his loved ones, and tormented by staff members. Asa
result, Julian has not only been ina physical prison for almost the past two years but a psychological
one as well. as his emotional and mental states have deteriorated.

In United States v. Salerno, the Supreme Court contemplated some point “at which detention
in a particular case might become excessively prolonged, and therefore punitive, in relation to
Congress’ regulatory goal.” 481 U.S. 739, 747, n.4. Here, the abuses Julian has suffered during his
pretrial detention, irrespective of its duration, have been unquestionably punitive. Indeed. such
onerous pretrial conditions have advanced no regulatory purpose and instead have served only to
inflict upon Julian unacceptable suffering, pain, and humiliation.

In United States v. Francis, 129 F.Supp.2d 612 (S.D.N.Y. 2001), the Court granted a
downward departure because the defendant was subjected to conditions ina state correctional facility
for 13% months that were qualitatively worse than conditions at a federal correctional facility,
including overcapacity, poor food and sanitation. the denial of access to materials that he could read.
and the occasional denial of contact visits with his family. Here, Julian was not only subject to
overcrowding. substandard food, and poor sanitation but he was unduly placed in solitary
confinement for an inordinate period, denied access to his discovery materials without reason,
tormented by staff members who deliberately interfered with his sleep, wrongly prevented from
participating in religious services, and cruelly deprived of the ability to see a single loved one in
nearly two years. While the Court in Francis, supra, redressed these circumstances with a
downward departure, we respectfully submit that the Court should do so here by means of a variance

from the Guidelines under 18 U.S.C. § 3553.

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C. Julian’s Upstanding Character and the Aberrational Nature of his Conduct

As set forth above, Julian has used his time in custody to reflect on his conduct, feel genuine
contrition, and provide service to the facility. Plainly, the harsh treatment he has received while in
pretrial detention has not sullied his upstanding character. In that regard, while it is difficult to
encapsulate a person’s character in a series of letters, those annexed hereto as Exhibits B through P
do tend to reflect what is most central about Julian — that he genuinely is a kind, compassionate and
gentle soul. When one reads them, a continuity becomes readily apparent. They present the portrait
of a “calm, quiet. and easygoing person” who is “polite and respectful.” a “hard worker.” “an
honorable man, with good morals and a pure heart” who “always put others’ needs before his own,”
a “caring soul,” a “warm, loving and caring” person, a “humble, caring and tender ... gentleman,”
a “big loving heart and [ ] helping hand,” a “gentle, shy and loving” human being with a “laid back
and humble personality,” a “symbol of tenderness,” an “absolutely devoted, doting, loving uncle,’a
“great, loyal friend” full of “thoughtfulness and compassion,” a person with a “calm demeanor,” a
“responsible adult,” a “great son, a loving brother, and a caring individual,” a “hard-working,
dedicated employee,” a person who has “always conducted himself with dignity and respect,” a
“great, upstanding, extremely polite, intelligent, very respectful, and hard working person with [an]
amazingly kind personality,” a “peaceful, home-to-work, work-to-home type of person,” a “person
of great faith and family values,” a “compassionate, considerate, calm, and kind” person who
“couldn't hurt a fly,” a “levelheaded, responsible and humble person.” a “reliable, trustworthy and
loving person,” and a “person of high moral character” who “operates with integrity.”

These are just some of the terms used to describe Julian by those who know him best. As

the Court will undoubtedly recognize, a person does not suddenly develop such a character after he

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is arrested. Rather, it is the hallmark ofa person’s true nature. We respectfully invite the Court to
review the letters in their entirety, as they, along with the contents of this submission, show why
Julian is an appropriate candidate for the Court’s leniency and compassion.

Moreover, these letters corroborate what Julian’s oldest brother, Michael Khater, makes
plain: “The isolated incident at the center of Julian’s case does not, and should not, in any way, be
a gauge to determine or judge his character.” Exhibit G. In short, Julian’s offense conduct truly is
a shocking aberration in his life. In fact, it qualifies as the legal definition of aberrant conduct in this
Circuit. As explained in United States v. Dyce, such behavior “generally contemplates a
spontaneous and seemingly thoughtless act rather than one which was the result of substantial
planning.” 91 F.3d 1462, 1470 (D.C. Cir. 1996) (internal quotations and citations omitted). While
the Court in Dyce further observed that a district court may depart from the Guidelines based on a
finding that a defendant acted aberrationally, in light of United States v. Booker, supra, such recourse
is no longer necessary in order to show leniency based on that mitigating factor. Indeed, a Court can
simply grant a variance from the Guidelines in accord with 18 U.S.C. § 3553(a)(1), which requires
it, when determining the particular sentence to impose, to consider “the nature and circumstances
of the offense.”

Here, Julian's aberrant behavior is in stark contrast to his upstanding character. For that
matter, as demonstrated below, such behavior also stands in contradistinction to the typical
premeditated conduct which was so prevalent on January 6". Rather than being driven by some
effort to undermine the election, Julian’s actions constituted a momentary lapse in judgment,
triggered by his anxiety during an extremely stressful event. It is respectfully submitted that this

consideration warrants leniency. After all, as stated by his cousin, Chantal Nagy, “[w]hile he had

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a very serious lapse in judgement and behaved irrationally, this does not erase the person he has
always been.” Exhibit M.*
D. Julian’s Anxiety
In addition, it bears emphasis that although Julian takes prescribed medication to address his
anxiety, he has never received ongoing therapy to do so. Accordingly, what would be best to redress
his conduct is mental health treatment mandated as a condition of supervised release. Notably, 18
U.S.C. § 3553(a)(2)(D) directs that courts should consider, in determining a particular sentence, the
need for that sentence to provide a defendant with medical care “in the most effective manner.” In
this case, that solution is not found with further incarceration, as prison medical records annexed
hereto as Exhibit Q establish that detention has actually triggered Julian’s anxiety. See p.4, supra.
Julian’s father, Elie Khater, corroborates that fact:
As recently as Friday, January 13", 2023, the date that was arranged
for us to see Julian at the jail for the first time in 611 days, I found out
that Julian had an anxiety attack that evening upon speaking to him
over the phone the next day.
Exhibit E.
With the foregoing in mind, what would be most effective for Julian's mental health
treatment is enabling him to participate in such rehabilitative care at home, surrounded and supported
by his family. And that is because Julian’s family means the world to him. As conveyed by his

cousin, Josephine Khater, “family is so important to him [and] he comes froma very loving tight knit

family.” Exhibit C. Thus, rather than subjecting Julian to further incarceration, we respectfully

 

‘Because Julian’s conduct is so shockingly out of character for him, his father’s friend, Perla
Kfouri, has stated that “[lfearning about Julian's offense was surprising” and “difficult ... to believe.”
Exhibit N.

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submit that both he and the community would be better served by directly and effectively remedying
that condition which gave rise to his impromptu conduct on January 6", through mandated therapy
as a requirement of supervised release, so as to facilitate his ongoing rehabilitation.

KE. The Need to Avoid Unwarranted Sentencing Disparities

In addition to the preceding considerations, 18 U.S.C. § 3553(a)(6) includes the need for any
sentence imposed to “avoid unwarranted sentence disparities.” Here, a review of sentences imposed
for other defendants involved in the January 6" riot supports the propriety of the sentence now
sought. For demonstrative purposes, the defense has set forth below the sentences imposed for a
dozen defendants charged for their conduct on January 6" along with a description thereof, Notably,
the first three listed defendants deployed chemical spray at officers. And all of the defendants listed
below received sentences considerably below Julian’s Guidelines. Yet, unlike Julian’s conduct
which was spontaneous and fleeting, these defendants all engaged in more extensive and
premeditated conduct designed to strike at the heart at our democracy. Thus, imposing upon Julian
a sentence equal to or greater than that received by these defendants would create an unwarranted
sentencing disparity.

With the foregoing in mind, the defense respectfully directs the Court to the following
January 6" defendants:

1. Ricky Willden (“Willden”) was sentenced to 24 months’ incarceration, for spraying
officers with a chemical irritant, in violation of 18 U.S.C. § 11 1(a)(h)’

 

The Government permitted Willden, unlike Julian Khater, to plead guilty to assault under
subsection (a) of 18 U.S.C. § 111, rather than subsection (b) thereof. While fact bargaining may play a
role in the distinction between the charges and attendant Guidelines of various defendants, the ultimate
sentence to be imposed upon Julian Khater should not turn a blind eye to the relevant facts of each case
when seeking to avoid an unwarranted sentencing disparity.

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On January 6, 2021, Willden traveled all the way from California to the District of
Columbia to participate in the January 6" attack on the Capitol. During the riot,
Willden, standing in the crowd near the steps of the U.S. Capitol building, used a
cellular telephone to record the crowd around him. On the back of the cellular phone
was the distinctive writing, “I [heart] my proud boy.”

In addition, after officers succeeded in closing the Rotunda doors of the Capito!
building during the riot, the mob outside continued yelling, chanting. and skirmishing
with officers, trying to breach the doors again. Willden, close to the officers, initially
joined his fellow rioters in singing the “Star Spangled Banner.” And then he attacked
those officers, deploying a canister containing chemical spray at them. After he did
so, Willden threw the canister at the officers, as other rioters joined in, dousing them
in chemical spray. Then, Willden entered the U.S. Capitol building and walked
towards the Rotunda.

At least six officers were identified as guarding the doors when Willden set out to
assault them with his chemical spray. Willden’s assault on the officers guarding the
doors helped facilitate the eventual breach of the Capitol building and aided rioters
who succeeded in injuring officers and destroying property. Moreover, Willden’s
violent conduct served to incite and embolden other violent rioters around him.

Subsequently, showing no remorse, Willden later posted to Facebook, “I think they
got the message from everyone of all ages.” See Government’s sentencing
memorandum in United States v. Willden, 21-cr-423-RC, doc. no. 38.

2. Cody Mattice (“Mattice”) was sentenced to 44 months’ incarceration, for spraying
officers with chemicals, pursuant to 18 U.S.C. § 111 (a)(1).

Mattice’s pre-riot text message conversations with his co-defendant. James Mault,
reveal that they anticipated and planned for violence on January 6". In addition,
before setting foot on Capitol grounds, Mattice recorded a video conveying his
criminal intent and foreshadowing his violent conduct that afternoon. He explained,
“We’re all getting ready to go march on Capitol Hill. We’re gonna go fuck some shit
up. It’s about to be nuts.” He then added, “let’s do this. Let’s fucking do this. I
can't wait.” Mattice subsequently recorded another video in which he said, “It’s a
march on Capitol Hill. Nobody’s happy, no one’s satisfied. Time to fuck shit up.”
After arriving on Capitol Hill, Mattice recorded another video, in which he said,
“Here we are, Capitol Hill. We’re getting up front, and we’re taking this shit. Make
no mistake, over 1,000,000 fucking people here. Done. Done.”

During the riot, Mattice violently attacked the police guarding the Capitol building.
When the officers refused to give way, Mattice pulled down a section of bike rack

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fencing separating the officers from the crowd. Then, Mattice led the mob that
penetrated the police line in the West Plaza, forcing officers to retreat to the Lower
West Terrace. During this conflict, Mattice texted his family and bragged about
breaking the police line. Later, Mattice reached the Lower West Tunnel to the
Capitol building, then either grabbed onto and hung from the wooden frame directly
beneath the arch and/or was supported by members of the crowd. Once there,
Mattice obtained a canister of chemical spray from another rioter, then sprayed the
contents at police officers defending the tunnel. He held his thumb on the canister,
discharging chemicals at police officers for about ten seconds. Mattice showed no
remorse for his crimes in the immediate aftermath of the riot. On the night of
January 6", Mattice sent his mother a “selfie” style photograph from the riot and then
later bragged about his participation.

Moreover, during his custodial interview, Mattice lied to FBI agents that he did not
fight with police and refused to acknowledge his role in breaking a police line. And
even worse, Mattice maintained that when he was at the mouth of the Lower West
Terrace tunnel, armed with chemical spray, he was not spraying police. He
maintained this lie even when confronted with evidence to the contrary. See
Government’s sentencing memorandum in United States v. Mattice, 21-cr-657-BAH-
1, doc. no. 60.

James Mault (“Mault”) was sentenced to 44 months’ incarceration, for spraying
officers with chemicals, pursuant to 18 U.S.C. § 111(a)(1).

On January 2, 2021, Mault, who planned for violence on January 6", told friends who
would travel with him to Washington, D.C. to arm themselves with batons, pepper
spray, and “asskicking boots.” Subsequently, during the riot, Mault encouraged
police officers to stand aside and allow the rioters to invade the Capitol building
while it was still occupied by Members of Congress. When the officers refused to
give way, Mault led the mob that penetrated the police line in the West Plaza, forcing
officers to retreat to the Lower West Terrace. Later, with great personal effort, Mault
made his way to the mouth of the Lower West Terrace tunnel and used chemical
spray against the police officers who refused to yield to Mault and his confederates.
Mauit then obtained another canister of pepper spray that he gave to another rioter
who used it to attack officers in the tunnel.

Moreover, during his offense conduct, Mault told officers “Your jobs will be here
when you come back after we kick the shit out of (inaudible).” He also sought to
justify the mob’s conduct, telling officers, “This shit’s [7.¢., the rioters’ shared cause
is] fucking right. What we're doing is right, or there wouldn’t be this many fucking
people here. And you guys fucking know this shit.” Then, Mault told officers, “I
obey the fucking law every goddamn fucking day. Every fucking day. Where the
fuck’s it get me? Everyone else (inaudible) breaks the law and they get away with
(inaudible).”

 
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After committing these offenses, Mault lied to FBI agents, minimized and denied his
unlawful conduct, and parroted baseless conspiracy theories. According to the
Government, Mault’s past statements and attitude demonstrate that he poses a
substantial risk of committing future political violence. See Government’s sentencing
memorandum in United! States v. Mault, 21-cr-657-BAH-2, doc. no. 60.

Scott Fairlamb (‘Fairlamb”’) was sentenced to 4/ months’ incarceration for
Obstruction of an Official Proceeding in violation of 18 U.S.C. § 1512(c¢)(2), and
Assaulting. Resisting, or Impeding Certain Officers in violation of 18 U.S.C. §

LL (aC).

Specifically, Fairlamb, a former Mixed Martial Arts fighter, joined the storming of
the police line on the West Terrace, obtaining a police baton, and screaming “What
Patriots do? We fuckin’ disarm them and then we storm the fuckin’ Capitol!”
Fairlamb then brandished that same police baton while entering the U.S. Capitol
through the Senate Wing Door, which had been kicked out by rioters who entered
through a broken window, just one minute before Fairlamb’s entry. After exiting the
U.S. Capitol, Fairlamb aggressively followed a line of Metropolitan Police
Department (“MPD”) officers, screaming vitriol at them as they attempted to traverse
the over-run Terrace. After isolating an MPD officer from his fellow officers,
Fairlamb shoved the officer and then punched his face shield. Two days after the
riot, on January 8", Fairlamb filmed a chilling video threatening future violence,
stating, “they pulled the pin on the grenade, and the blackout is coming. Whata time
to be a patriot,” and, immediately after being visited by FBI agents on January 15,
2021, said that he would “go again” to the U.S. Capitol. See Government’s
sentencing memorandum in United States v. Fairlamb, 21-cr-00120-RCL, doe. no.
50.

Deviyn Thompson (“Thompson”) was sentenced to 46 months’ incarceration for
using a metal baton against officers while trying to enter the Capitol building, in
violation of 18 U.S.C. $8 111(a) and (b).

Thompson was amidst a crowd of protestors who were pushing against and assaulting
D.C. Metropolitan Police Department and U.S. Capitol Police Officers in an attempt
to gain entry into the U.S. Capitol. For several minutes, Thompson and others were
forcibly trying to make entry though the doorway at which the officers had gathered.
At some point, Thompson bent down and gained possession of a metal baton that he
found on the floor, approached the entrance to the U.S. Capitol where law
enforcement was blocking the door, and swung the baton overhead and downward
against the police line. Thompson also yelled at law enforcement holding the line,
“You wanna fight, let’s fight! One on one.” Additionally, in his enthusiasm to throw

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a box speaker at the police line, Thompson caused a head wound to a fellow rioter,
who needed medical treatment for a gash on his head. See Government’s sentencing
memorandum in United States v. Thompson, 21-cr-461-RCL, doc. no. 30.

6. Nicholas Languerand (“Languerand”) was sentenced to 44 months incarceration
for, among other things, attacking officers with various dangerous objects, in
contravention of 18 U.S.C. $$ 111 (a) and (b).

Languerand was standing near the archway leading from the Lower West Terrace to
the interior of the U.S. Capitol. While there, he threw various dangerous objects at
US. Capitol Police ("(USCP”} and Metropolitan Police Department officers
protecting the Lower West Terrace entrance as other rioters also attacked the law
enforcement officers. The objects included an orange traffic barrier and two sticklike
objects. Languerand then took possession ofa police riot shield, struck it against the
ground, and then held it in front of him as he confronted the USCP and MPD officers
defending the Lower West Terrace archway. See Government's Statement of Offense
in United States v. Languerand, 2\-cr-3w53-JDB, doc. no. 28.

Further, Languerand’s social media posts demonstrate that prior to his arrest, he had
no remorse for his conduct on January 6". To the contrary, Languerand bragged
about his assaults on police, posting to Instagram, “I never made it inside but I got
some good shots in” and in another post, after recounting his conduct at the Capitol,
Languerand said “it felt good.” Languerand also stated that a merely peaceful protest
would not have been successful in pressuring Congress, and posted messages
showing that he anticipated and welcomed further violence, telling his Instagram
followers that “Violence isn’t always the answer but in the face of tyranny violence
may be the only answer” and “Next time we come back with rifles.” See
Government's Sentencing Memorandum, /d., doc. no. 34.

7. Kevin Douglas Creek (“Creek”) was sentenced to 27 months’ incarceration for
punching, shoving, and/or kicking to the ground law enforcement officers, pursuant
to 18 U.S.C. § 11 1(ajc).

On January 6, Creek, carrying a backpack with supplies which included a first aid kit,
mace, a boot knife, and binoculars, headed towards the Capitol with two associates,
wanting, himself, to be at the front of the crowd. During the riot, Creek and a mob
pushed up against a bike-rack barrier backed by a thin line of police officers. The
mob, including Creek, pushed through the barrier, breaking the line of bike-rack
fencing and the police officers behind it. Creek ran through the front of the crowd,
grabbing a Metropolitan Police Department officer and driving him backward
forcefully several feet. After letting go of the officer, Creek hit him in the face shield
ofhis helmet. Thereafter, Creek made a beeline for a U.S. Capitol Police officer who

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was attempting to protect himself behind a bike rack barrier and a police shield.
Creek went around the bike rack barrier, gave that second officer a hard shove in the
shoulders, and then kicked him, causing the officer to fall backward to the ground.
The officer tried to get up when another rioter pushed him back down to the ground.
See Government's sentencing memorandum in United States v. Creek, 21-cr-645-
DLF, doc. no. 48.

Matthew Miller (“Miller”), who, among other things, used a fire extingutsher as a
dangerous weapon against law enforcement, was sentenced to 33 months’
incarceration for obstruction of an official proceeding in violation of 18 U.S.C. §
1512(c)(2), and assaulting, resisting, or impeding certain officers in violation of 18
U.S.C. § 11 1fa)(1).

Specifically, on January 6, 2021, Miller. once on restricted grounds of the U.S.
Capitol, encouraged rioters to get closer to the U.S. Capitol building. waving his arm
in a*‘come this way” fashion at least 30 times and calling out, “Come on!” Then, on
the Lower West Terrace, Miller took several actions against the police guarding the
entrance to the Capitol building. There, he urged other rioters to push against the
police, threw batteries at police officers, and ultimately used a fire extinguisher as a
dangerous weapon, releasing its contents directly onto law enforcement officers
protecting the entry point into the Capitol building. See Government’s sentencing
memorandum in United States v. Miller, 21-cr-75-RDM, doc. no. 67.

Howard Richardson (“Richardson”) was sentenced to 46 months’ incarceration for
multiple attacks against officers using a metal flagpole and a metal billboard, in
violation of 18 U.S.C, § 111(a)(1).

With respect to his conduct during the riot, Richardson joined the storming of the
police line on the West Terrace just in front of the media tower that had been
constructed ahead of the Presidential Inauguration. He brought a metal flagpole with
him to the Capitol that day. During the riot, as he stood at the very front of the line
of police officers struggling to maintain their position and hold the mob back,
Richardson, unprovoked, used his metal pole to strike a police officer three times,
stopping only when the metal pole broke in his hands. Then, moments later, he
eagerly helped a group of rioters force a very large metal billboard into the same line
of besieged officers, using it as a battering ram to break through a bike rack barrier.
The effort was successful, as rioters broke through the bike rack barrier and created
a gaping hole in the police line. Thereafter, Richardson also lied to law enforcement
about his involvement, falsely claiming that he swung his flagpole only after an
officer swung at him. See Government’s sentencing memorandum in Unifed States
v. Richardson, 2\-cr-721-CKK, doc. no. 35.

 
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Marshall Neefe (“Neefe”) was sentenced to 4/ months ‘incarceration for conspiracy
to commit obstruction under 18 U.S.C. § 1512(k), and assault under 18 U.S.C. §

111 (a)(1).

In the weeks leading up to the riot, Neefe and his co-defendant, Charles Smith,
coordinated and planned to travel to Washington, D.C. on January 6" and were
prepared to violently ensure that the former president would remain in office
following Congress’s certification proceeding. Neefe discussed bringing weapons
to Washington and fabricated a wooden club—-which he named the “Commie
Knocker”—that he carried on to the Capitol grounds. During the riot, Neefe
participated with other members of a mob in thrusting a large metal sign frame into
a defensive line of U.S. Capitol Police and D.C. Metropolitan Police Department
officers. After the officers’ line broke, Neefe entered the Capitol, disregarded police
officers’ commands to leave the Capitol Rotunda, and exited the building after
spending over 40 minutes inside. During the evening hours following the Capitol
breach, Neefe showed no remorse. Through Facebook, he expressed pride about
breaching the Capitol; vowed he would “bring[] a gun next time”; opined that the
events earlier that day were “total pussy shit”; and stated, “If I had it my way every
cop who hurled a baton or maced on [sic] of us would be lined up and put down ...
We made sure they knew we fucking OWN them.” See Government’s sentencing
memorandum in United States v. Neefe, 21-cr-567-RCL, doc. no. 84.

Nicholas Ochs (“Ochs”), who, among other things, threw a smoke bomb at police,
was sentenced to 48 months’ incarceration for obstruction under 18 U.S.C. §
1512(c)(2).

In the days immediately following the 2020 presidential election, Ochs, a previous
Proud Boys Elder (member ofa small leadership group within the organization) told
his fellow Proud Boys that he was prepared to “chimp out” if the result was not
overturned, and his favored candidate — the former president — installed. On January
6" he made good on that plan, throwing a smoke bomb at police during the riot. In
addition, among other things, Ochs breached the Capitol building, smoked cigarettes
in the Rotunda, pointed rioters toward the Speaker’s Office, and celebrated with
fellow Proud Boys. Further, according to the Government, Ochs never expressed any
remorse or contrition and posed a danger that he would do something similar again,
including with the Proud Boys. See Government’s sentencing memorandum in
United States v. Ochs, 2\-cr-73-BAH, doc. no. 94.

Alan Byerly (“Byerly”), who engaged in three separate assaults and used a stun gun,
was sentenced to 34 months’ incarceration for assault under 18 U.S.C. § 111(a)(1),
and for striking, beating, or wounding of another person within the territorial
jurisdiction of the United States under 18 U.S.C. § 113¢a)(4).

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Prior to January 6, 2021, Byerly purchased a stun gun, capable of emitting an
electronic shock to a victim. Byerly carried the stun gun with him when he traveled
from his home in Pennsylvania to the District of Columbia, and had it with him as
he marched on the Capitol on January 6". Byerly engaged in three separate assaults
on the west side of the Capitol building, two against police and one against a news
reporter. First, he assisted a group of rioters who used a large Trump sign inside a
heavy steel frame with steel caster wheels as a battering ram against barricades and
a line of police officers that separated the rioters from the Capitol on the stairs
leading to the Capitol building. Second, Byerly participated in a vicious assault
against an Associated Press reporter, who was dragged up and down the stone
staircase on the Lower West Terrace of the Capitol’s grounds. Later still, Byerly
used his stun against United States Capitol Police and Metropolitan Police
Department officers who had formed a line of bike racks to act as a barrier between
themselves and against the crowd forming on the Capitol grounds. After officers
removed the stun gun from Byerly’s hands, he continued to charge toward the
officers, physically striking and pushing against them. He also grabbed an officer’s
baton. Subsequently, Byerly lied to federal agents about his involvement in the riot
and concluded the interview by stating, “This is political fucking persecution. This
is a simple citation and me go to court and pay a fine locally and now the federal
government’s in it and it’s all politically fucking pushed for to persecute any Trump
supporters.” See Government’s sentencing submission in United States v. Byerly, 21-
cr-527-RDM, doc. no. 47.

Contrary to the foregoing, Julian Khater did not plan his assault. He did not belong to some
militia or extremist organization, He did not enter the Capitol building. He did not brag on social
media or elsewhere about his conduct. He did not urge others to engage in violence. He did not
engage in political rhetoric justifying his actions. He did not verbally antagonize or insult officers.
He did not boast about committing future acts of violence. And he did not lie to law enforcement
about his actions. Instead, he acted momentarily, impulsively and aberrantly, in the heat of the
moment, fueled by his anxiety and extremely stressful circumstances, He left the area after his
conduct. Immediately upon his arrest, he cooperated with law enforcement, honestly admitting that
he deployed the spray, and identifying his co-defendant. And he has expressed genuine remorse.
In light of such circumstances which distinguish him from the above-referenced defendants and
mitigate his conduct, subjecting Julian Khater to further imprisonment at this stage will produce an

unwarranted sentencing disparity.

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F, Section 3553 Factors

Based on the foregoing, the detense respectfully submits that the factors outlined in § 3553(a}
support the imposition of time-served and supervised release, with a condition of mental health
treatment. First, “respect for the law” and “just punishment for the offense” could reasonably be
achieved with such a sentence. Through his plea of guilty and acceptance of responsibility, Julian
has demonstrated his respect for the law. And, his imprisonment at the CTF has more than justly
punished him. Second, Julian is not the type of person of whom to make an example for the sake
of“adequate[ly] deterr[ing] criminal conduct” by others. As evidenced by the letters annexed hereto.
despite his own hardships, he has shown himself to be a kind and compassionate man. Third, no
additional imprisonment is needed to “protect the public from further crimes of the defendant.” To
the contrary, what is needed is Court-mandated mental health treatment for Julian to redress his
anxiety. For that matter, Julian has been chastened by this ordeal and poses no real risk of
recidivism. Indeed, given what he has endured over nearly the last two years in prison, Julian is
more desirous than ever to lead a healthy, law-abiding, and gainful life. Lastly, imprisonment,
rather than fostering Julian's rehabilitation, will undoubtedly hamper it.

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any imprisonment at this stage will only serve to advance the unnecessary aim of
retribution for its own ritualistic sake. In contrast to imprisonment, however, permitting Julian to
return home and tend to his mental health, surrounded by his family, would best further his ongoing
rehabilitation. In short, imposing additional imprisonment at this stage is a punishment “greater than

necessary, to comply with the purposes set forth in [§ 3553}.”

 
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VII. Conclusion

Given all of the mitigating circumstances present in this case, the Court rightfully has the
discretion to show Julian Khater compassion and lenity. In summary, for all the reasons set forth
above, we respectfully ask that the Court render a non-Guidelines sentence, so as to impose upon
him a period of time-served with supervised release that includes a condition requiring him to

undergo mental health treatment.

Respectfully submitted,

 

 

 

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